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    1                    UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
    2
                         CASE NO. 1:16-CR-20803-BB-1
    3

    4
        UNITED STATES OF AMERICA
    5                                            Miami, Florida

    6             vs.                            December 19, 2017
                                                 Tuesday
    7
        ALI CABY,                                Scheduled 2:30 p.m.
    8   ARASH CABY,                              2:28 p.m. to 3:25 p.m.
        MARJAN CABY
    9                                      Pages 1 - 38
        ------------------------------------------------------------
   10

   11                             SENTENCING HEARING

   12
                           BEFORE THE HONORABLE BETH BLOOM
   13                       UNITED STATES DISTRICT JUDGE

   14

   15   APPEARANCES:

   16
        FOR THE GOVERNMENT:                 RICARDO A. DEL TORO, AUSA
   17                                       United States Attorney's Office
                                            99 Northeast 4th Street
   18                                       Suite 620
                                            Miami, Florida 33132
   19

   20
        FOR DEFENDANT ALI CABY:             WILLIAM R. BARZEE, ESQ.
   21                                       Courthouse Center
                                            40 Northwest Third Street
   22                                       Penthouse 1
                                            Miami, Florida 33128
   23

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    1   FOR DEFENDANT ARASH CABY:           MARC DAVID SEITLES, ESQ.
                                            Seitles & Litwin, P.A.
    2                                       Courthouse Center
                                            40 Northwest Third Street
    3                                       Penthouse One
                                            Miami, Florida 33128
    4

    5
        FOR DEFENDANT MARJAN CABY:          SABRINA D. VORA-PUGLISI, ESQ.
    6                                       Damian & Valori, LLP
                                            1000 Brickell Avenue
    7                                       Suite 1020
                                            Miami, Florida 33311
    8

    9
        STENOGRAPHICALLY
   10   REPORTED BY:                 GLENDA M. POWERS, RPR, CRR, FPR
                                     Official Court Reporter
   11                                United States District Court
                                     400 North Miami Avenue, Room 08S33
   12                                Miami, Florida 33128

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    1             (Call to the order of the Court:)

    2             COURTROOM DEPUTY:     All rise.    United States District

    3    Court is now in session; the Honorable Beth Bloom presiding.

    4             THE COURT:    Good afternoon to everyone.       Go ahead and

    5    have a seat.    Just give me a moment.

    6             (Brief pause in proceedings.)

    7             COURTROOM DEPUTY:     Calling Case 16-criminal-20803,

    8    United States of America versus Ali Caby, Arash Caby and Marjan

    9    Caby.

   10             Counsel, please state your appearances for the record.

   11             MR. DEL TORO:     Good afternoon, Your Honor.      Rick

   12    Del Toro on behalf of the United States, along with AUSA

   13    Michael Decorel, DOJ trial attorney, Mathew Wizewski*, and at

   14    counsel's table, also, Special Agent Eden Coates* of the FBI.

   15             THE COURT:    Good afternoon.

   16             MR. BARZEE:    Good afternoon, Your Honor.       William

   17    Barzee on behalf of Ali Caby, who's present and in custody.

   18             THE COURT:    Good afternoon.

   19             MR. SEITLES:     Good afternoon, Your Honor.      Marc

   20    Seitles, on behalf of Arash Caby, who's here, present before

   21    the Court, among family and friends.

   22             THE COURT:    Good afternoon.

   23             MS. PUGLISI:     Sabrina Puglisi, on behalf of Marjan

   24    Caby, who is present.     Good afternoon.

   25             THE COURT:    Good afternoon to each of you.
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    1               May I have the name of the probation officer that's

    2    present in the courtroom?

    3               THE PROBATION OFFICER:    Good afternoon, Your Honor.

    4    Lakiesha Brantley on behalf of U.S. Probation.

    5               THE COURT:    Good afternoon.

    6               As each of you know, the purpose of this afternoon's

    7    proceeding is to determine an appropriate sentence in each

    8    case.

    9               As I understand by my courtroom deputy, that you are

   10    requesting that the sentencing proceed at one time; is that

   11    correct?

   12               MR. BARZEE:    That's correct, Your Honor.

   13               MR. SEITLES:   Yes, Your Honor.     Thank you.

   14               MR. BARZEE:    And that's a request from all parties.

   15               THE COURT:    I'm not quite certain on this end how that

   16    bears out, since the Court is going to address each individual

   17    separately in order to fully consider the 3553(a) factors.

   18               But let me say to Ali Caby, Arash Caby and Marjan Caby,

   19    as each of you know, the purpose of this afternoon's proceeding

   20    is for the Court to determine an appropriate sentence in each

   21    of your cases, a sentence that is sufficient but is not greater

   22    than necessary.

   23               Each of you were before the Court on October 3rd of

   24    this year and each of you entered a plea of guilty to Count 1

   25    of a 13-count indictment.
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    1             Count 1, charging you with conspiracy to violate the

    2    International Emergency Economic Powers Act and to defraud the

    3    United States, in violation of 18 United States Code, Section

    4    371.

    5             With regard to Ali Caby, I do not see that the

    6    Government is seeking forfeiture.

    7             However, with regard to Arash Caby, that is --

    8             MR. DEL TORO:     Actually, Your Honor, the Court has

    9    entered a forfeiture order with respect to both Ali Caby and

   10    Arash Caby, but not as to Marjan.

   11             THE COURT:    Not as to Marjan.

   12             MR. DEL TORO:     Right.

   13             THE COURT:    So I will address -- and I understand, for

   14    purposes of any joint recommendations, that the parties are

   15    requesting that the sentencing proceed together.

   16             However, for purposes of the Court, ensuring that Ali

   17    Caby, Arash Caby and Marjan Caby are prepared to proceed, I'm

   18    going to address each of them individually.

   19             So we'll start first with Ali Caby.

   20             And, Mr. Caby, the Court has received and has reviewed

   21    in preparation for today the following items:

   22             I will refer to each of those items by Docket Entry,

   23    since item was filed for record.

   24             Docket Entry 98 is your factual proffer statement;

   25    Docket Entry 100 is your plea agreement; Docket Entry 111 is
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    1    the draft disclosure of the presentence investigation report;

    2    Docket Entry 115 is the final disclosure of the presentence

    3    investigation report.

    4             Docket Entry 117 is a notice of filing letters in

    5    support of sentencing that Mr. Barzee has filed on your behalf,

    6    and the Court has received and reviewed the following items,

    7    which are:

    8             Each letter, three in total, that were attached as part

    9    of the exhibit, one from Gergana Racheva, your wife, one from

   10    Georgy Rachev, your father-in-law, and one from Vassil Rachev.

   11             Docket Entry 124 is the order of forfeiture; and Docket

   12    Entry 126 is a notice of filing letters in support of

   13    sentencing, that was an additional letter that the Court

   14    received and reviewed from your sister, Sahar Caby.

   15             Have you had a full opportunity to review each of these

   16    documents with your attorney, Mr. Barzee?

   17             DEFENDANT ALI CABY:      Yes, I did, Your Honor.

   18             THE COURT:    Do you need any additional time, sir?

   19             DEFENDANT ALI CABY:      No, Your Honor.

   20             THE COURT:    Are there any additional documents in Ali

   21    Caby's case that the Court should have received and reviewed in

   22    preparation for today?

   23             MR. BARZEE:    No, Your Honor.

   24             THE COURT:    Mr. Del Toro?

   25             MR. DEL TORO:     Nothing from the Government, Judge.
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    1             THE COURT:    Is there any legal reason, Mr. Barzee, why

    2    sentence should not be imposed today, sir?

    3             MR. BARZEE:    No, Your Honor.

    4             THE COURT:    Mr. Barzee, I note that in Mr. Caby's case

    5    you have not filed any objections to the accuracy of the

    6    presentence investigation report; is that correct, sir?

    7             MR. BARZEE:    That's correct, Your Honor.       However, I

    8    did become aware of something just recently, and that's on

    9    page two of the presentence investigation, under the section of

   10    "identifying data," it lists an alias, and we're just not sure

   11    where that information came from.

   12             I know that the Bureau of Prisons relies on the PSI, so

   13    I thought, in an abundance of caution, I should raise that with

   14    the Court.   The alias that we're not familiar with is Ali Laut,

   15    L-A-U-T, with the date of birth of 4-16-76, and the Social

   16    Security of 620-08-dot-dot-dot-dot.        I'll leave that blank for

   17    the transcript, but it's in the PSI.

   18             THE COURT:    Are there documents that would reflect the

   19    basis for that alias being listed?

   20             THE PROBATION OFFICER:      Your Honor, that information

   21    came from the National Crime Information Center.          I have copies

   22    of it that link the aliases and the identifiers.          There's also

   23    a fingerprint pattern that's also listed with it, so that's

   24    where it came from.

   25             THE COURT:    Mr. Barzee, do you want to review the
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    1    information on that in the courtroom?

    2             MR. BARZEE:    No, Your Honor.     Probation informed me of

    3    that.   Like I said, we don't know the name, we don't recognize

    4    it.   Mr. Caby has never used the alias, so...

    5             THE COURT:    However, there are documents that support

    6    it, so the Court sees no reason to excise that alias that's

    7    part of the presentence investigation report, unless you are

    8    truly challenging the information contained in the documents

    9    the probation officer has.

   10             MR. BARZEE:    No, Your Honor, not at this time.

   11             THE COURT:    Are there any objections to the -- any

   12    other portion of the presentence investigation report or the

   13    calculation of the advisory guidelines in this case?

   14             MR. BARZEE:    No, Your Honor.

   15             THE COURT:    The Court does accept that the facts

   16    contained in the presentence investigation report are correct,

   17    as well as a correct calculation of the advisory guideline

   18    range that reflects a base offense level of 26.

   19             Mr. Ali Caby is given a three-level reduction for his

   20    acceptance of responsibility.

   21             I'm assuming, Mr. Del Toro, the Government is moving

   22    for that additional one-level decrease?

   23             MR. DEL TORO:     We are, Your Honor.

   24             THE COURT:    Resulting in a total offense level of 23.

   25    Ali Caby has a criminal history category of 2, resulting in an
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    1    advisory guideline range of 51 to 60 months; is that accurate?

    2             MR. BARZEE:    It is, Your Honor.

    3             MR. DEL TORO:     It is, Your Honor.

    4             THE COURT:    In considering the 3553(a) factors, Ali

    5    Caby, if there is anything that you would like to say directly

    6    to the Court in mitigation of your sentence, certainly, this

    7    would be the appropriate time.

    8             If there are individuals that are present here that

    9    would like to speak on your behalf, they may certainly do so.

   10    I'm certain that Mr. Barzee will make argument on your behalf,

   11    but I do want to give you that opportunity, sir.

   12             DEFENDANT ALI CABY:      No, thank you, Your Honor.

   13             THE COURT:    Mr. Barzee.

   14             MR. BARZEE:    Your Honor, at this time, I would just

   15    defer to Mr. Del Toro to address the Court on the issue of the

   16    joint recommendation of 24 months.

   17             MR. DEL TORO:     And, Judge, we have made a joint

   18    recommendation to the Court.      The basis for the recommendation

   19    for a downward variance, there's a myriad of reasons.

   20             You know, this case, while it is a serious case, and

   21    the joint recommendation for a significant sentence of

   22    imprisonment in this case reflects that, is a case involving a

   23    shipment of aircraft parts to a specially designated national

   24    Syrian Air, which is an entity which is part of the Government

   25    of Syria.
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    1              The defendants have accepted responsibility for their

    2    part in the conspiracy, they have acknowledged their role in

    3    the conspiracy, as owners and officials of a company

    4    AW-Tronics, which willfully and intentionally shipped these

    5    goods to Syrian Air and, ultimately, to Syria.

    6              The reason for the downward variance is significant.

    7              While the conduct that the defendants pled to involved

    8    over a year-and-a-half of interactions with Syrian Air, the

    9    total amount of shipped aircraft parts was $35,000 and none of

   10    them were actually weapons or munitions that were involved, so

   11    they were dual-use goods that have both military and civilian

   12    application.

   13              The defendants, as I have said, have accepted

   14    responsibility in their roles in the offense, and they have

   15    accepted that they willfully defrauded the Government in that

   16    they violated IEEPA in the case.

   17              And none of them have significant criminal conduct in

   18    the past, no felony convictions, you know, obviously, Ali Caby

   19    has some criminal past, but not a significant criminal history

   20    that would preclude him from a variance.

   21              And so, for these reasons, and obviously based on a

   22    strategic decision of both parties, to avoid trial and to avoid

   23    the time and expense of a trial, we all jointly recommended a

   24    two-year sentence with respect to Ali Caby and Arash Caby, and

   25    a 12-month-and-one-day sentence with respect to Marjan Caby.
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    1              THE COURT:    Is there any additional information you'd

    2    like to provide to the Court as the basis for the Government's

    3    motion for a downward variance?

    4              MR. BARZEE:    Your Honor, we'll just join the

    5    Government's motion at this time.

    6              THE COURT:    Is there any further information,

    7    Mr. Barzee, that you'd like to present to the Court?

    8              MR. BARZEE:    No, Your Honor.    Thank you.

    9              THE COURT:    Any individuals that are present -- are

   10    there any individuals that would like to speak directly to the

   11    Court, Mr. Barzee?

   12              MR. BARZEE:    On behalf of Ali Caby, no, Your Honor.

   13    Thank you.

   14              THE COURT:    Mr. Arash Caby, in preparation for this

   15    afternoon's proceeding, the Court has received and reviewed the

   16    following items, and I will refer to each by Docket Entry since

   17    each was filed for record.

   18              Docket Entry 98 is your factual proffer statement;

   19    Docket Entry 99 is the plea agreement; Docket Entry 112 is the

   20    draft disclosure of the presentence investigation report.

   21              Docket Entry 114 is a notice of filing letters of

   22    support for the sentencing hearing, and the Court has received

   23    and reviewed the letter from Rabbi Jonathan Fisch; Docket Entry

   24    121 is the order of forfeiture the Court entered; and Docket

   25    Entry 122 is a second notice of filing letters in support for
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    1    the sentencing hearing, and the Court has received and reviewed

    2    the letter from your wife, Catherine Caby.

    3              Have you had a full opportunity to review each of these

    4    documents with your attorney, Mr. Seitles?

    5              MR. SEITLES:    I have, Your Honor.

    6              THE COURT:    I'm asking Mr. Caby if he's had the

    7    opportunity to review?

    8              DEFENDANT ARASH CABY:     Yes, Your Honor.

    9              THE COURT:    Do you need any additional time, sir?

   10              DEFENDANT ARASH CABY:     No, Your Honor.

   11              THE COURT:    And are there any additional documents that

   12    the Court should have received and reviewed in preparation for

   13    today's proceeding as to Arash Caby?

   14              MR. SEITLES:    No, Your Honor.

   15              THE COURT:    Mr. Del Toro?

   16              MR. DEL TORO:    No additional information from the

   17    Government, Judge.

   18              THE COURT:    And is there any legal reason, Mr. Seitles,

   19    why sentence should not be imposed today?

   20              MR. SEITLES:    No, Your Honor.

   21              THE COURT:    I notice in Arash Caby's case that there

   22    have been no objections filed to the accuracy of the

   23    presentence investigation report; is that correct?

   24              MR. SEITLES:    That is correct.

   25              THE COURT:    The Court accepts the facts contained in
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    1    the presentence investigation report, as well as the

    2    calculations of the advisory guideline range, which mirrors the

    3    guidelines with regard to Ali Caby, and that is the base

    4    offense level is 26, with a three-level reduction for

    5    acceptance of responsibility, reflecting a total offense level

    6    of 23.

    7              Arash Caby has a criminal history category of 1,

    8    resulting in advisory guideline range of 46 to 57 months; is

    9    that correct?

   10              MR. SEITLES:    It is, Your Honor.

   11              THE COURT:    In considering the 3553(a) factors, Arash

   12    Caby, if there is anything that you would like to say directly

   13    to the Court, certainly, you may do so.

   14              If there are individuals that might be present on your

   15    behalf that would like to speak directly to the Court, they may

   16    certainly do so.     I'm certain that Mr. Seitles will make

   17    argument on your behalf.

   18              DEFENDANT ARASH CABY:     Yes, Your Honor.

   19              THE COURT:    Is there anything, Arash Caby, that you

   20    would like to say directly to the Court?

   21              DEFENDANT ARASH CABY:     No, Your Honor.

   22              THE COURT:    Mr. Seitles?

   23              MR. SEITLES:    Again, as Mr. Barzee, we'll defer to the

   24    Government.     The only other additional thing I could add is

   25    these gentlemen have lost their business, so the business
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    1    they've had for 10 years is now gone.        Their financial

    2    well-being is, obviously, affected because of it.          They have

    3    agreed to pay back the restitution amount in this case, which

    4    they have done already and was part of their plea agreement,

    5    and there's been a significant affect on their livelihood and

    6    their families and businesses, and in addition to the agreed

    7    prison sentence.

    8              So, subject to that, I will defer to the Government

    9    with respect to the recommended sentence and the joint

   10    recommended sentence between us and the Government.

   11              Thank you, Your Honor.

   12              THE COURT:    And when we speak of restitution, are you

   13    referring to an amount of money that was forfeited by Mr. Caby?

   14              MR. SEITLES:    Yes, Your Honor.

   15              THE COURT:    Mr. Del Toro?

   16              MR. DEL TORO:    That is correct, Your Honor.       The

   17    Government has received checks totaling $35,000, which is the

   18    amount of forfeiture required in this case after the Court has

   19    issued its forfeiture orders.

   20              Again, with respect to Mr. Arash Caby, we make the same

   21    joint recommendation of 24 months of imprisonment, based on the

   22    factors that I've cited before, and based on the 3553 factors,

   23    we believe, jointly, the parties believe, that that sentence is

   24    not greater than necessary, but is sufficient to meet the

   25    requirements of the statute itself to reflect the seriousness
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    1    of the offense, deterrence, both as to these defendants and to

    2    society in general, protect the public, and provide for some

    3    level of rehabilitation.

    4              THE COURT:    All right.   Thank you.

    5              Mr. Seitles, is there anything further, sir?

    6              MR. SEITLES:    No.   Thank you, Your Honor.

    7              THE COURT:    Ms. Puglisi is addressing Marjan Caby's

    8    case.   Ms. Caby, let me advise you that the Court has received

    9    and reviewed in preparation for today the following items, and

   10    I will refer, as well, by Docket Entry so each was filed for

   11    record.

   12              Docket Entry 98 is your factual proffer statement;

   13    Docket Entry 101 is the plea agreement; Docket Entry 110 is the

   14    the draft disclosure of the presentence investigation report;

   15    Docket Entry 113 is the final addendum one disclosure of the

   16    presentence investigation report.

   17              Let me note that while the Court has not received a

   18    separate filing with regard to objections contained within that

   19    final addendum one, there's reference to an e-mail, and the

   20    Court did receive the e-mail, Ms. Puglisi, that sets forth

   21    objections that you have, and I will address whether they've

   22    all been resolved in just a moment, but let me continue with

   23    the items that the Court has reviewed.

   24              Docket Entry 119 is a notice of filing letters in aid

   25    of sentencing, and the Court has received and reviewed the
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    1    letter from your sister, Sahar Caby, your cousin, Marjan

    2    Mamooie, Jennifer Oster, and Augustin Ricardo.

    3              Docket Entry 120 is a sentencing memorandum and a

    4    motion in support of a downward variance that Ms. Puglisi filed

    5    on your behalf, and the Court did receive today; Docket Entry

    6    125 is the final addendum to disclosure of the presentence

    7    investigation report.

    8              Marjan Caby, have you had a full opportunity to review

    9    each of these documents with your attorney?

   10              DEFENDANT MARJAN CABY:     Yes, Your Honor.

   11              THE COURT:    Do you need any additional time?

   12              DEFENDANT MARJAN CABY:     No, Your Honor.

   13              THE COURT:    Are there any additional documents that the

   14    Court should have received and reviewed in preparation for

   15    today?

   16              DEFENDANT MARJAN CABY:     No, Your Honor.

   17              THE COURT:    And, Ms. Puglisi, is there any -- when you

   18    say no, I just want to make sure from the attorneys,

   19    Ms. Puglisi, are there any additional documents the Court

   20    should have received and reviewed?

   21              MS. PUGLISI:    No, Your Honor.

   22              THE COURT:    Mr. Del Toro?

   23              MR. DEL TORO:    Nothing from the Government.

   24              THE COURT:    And, Ms. Puglisi, is there any legal reason

   25    why sentence shouldn't be imposed today?
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    1              MS. PUGLISI:    No.

    2              THE COURT:    Have all of the objections that were set

    3    forth -- and I refer to an e-mail that the Court did receive

    4    referencing certain objections to -- and let me just state for

    5    the record what was contained and has not been filed separately

    6    as a document with the Court, and that would include an

    7    objection to paragraph 18, 70, 69, 76, 71, 72, 78 and 74.

    8              MS. PUGLISI:    Judge, there were more clarifications

    9    than anything.    They don't affect the guideline calculations.

   10    So for purposes of this, I'll be happy to withdraw them so we

   11    can move along.

   12              THE COURT:    Has that been discussed with Marjan Caby,

   13    and she has no objection to that?

   14              MS. PUGLISI:    I did discuss it with her previously to

   15    coming here today, and she was fine with that.

   16              THE COURT:    All right.   So are there any objections to

   17    the accuracy of the presentence investigation report that would

   18    include the calculation advisory guidelines?

   19              MS. PUGLISI:    Judge, the only thing is, Ms. Caby just

   20    mentioned to me on page four that it says the name, the alias

   21    of Marsan, M-A-R-S-A-N, Caby, and she has advised that she's

   22    never used that name.      I don't know where that information came

   23    from.

   24              THE PROBATION OFFICER:     That also came from the

   25    National Crime --
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    1              MR. DEL TORO:    And, Judge, if I may clarify.

    2              Sometimes the National Crime Information Center will

    3    receive misspellings in law enforcement entries, it's the

    4    actual data input, so it's possible that those aliases have

    5    been inputted that were just misspelled by mistake by a law

    6    enforcement officer who has entered it.

    7              THE COURT:    Are you requesting anything?

    8              Are you bringing it to the Court's attention?

    9              MS. PUGLISI:    Judge, I just bring it to the Court's

   10    attention.

   11              THE COURT:    All right.   Are there any additional

   12    objections?

   13              MS. PUGLISI:    No, Your Honor.

   14              THE COURT:    The Court accepts the facts contained in

   15    the presentence investigation report and the calculation of the

   16    advisory guidelines that begin with the same base offense level

   17    of 26, with a two-level reduction for acceptance of

   18    responsibility, additional one level, as motioned by the

   19    Government, resulting in total offense level of 23.

   20              Ms. Caby has a criminal history category of 1,

   21    resulting in advisory guideline range of 46 to 57 months; is

   22    that correct?

   23              MS. PUGLISI:    Yes, Your Honor.

   24              THE COURT:    As part of the motion for a downward

   25    variance, Ms. Puglisi, you have requested a sentence of
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    1    a-year-and-a-day?

    2              MS. PUGLISI:    Yes, Your Honor, in accordance with the

    3    recommended sentence from the parties.

    4              Judge, you know, I think a few things I would like to

    5    just point out.     This guideline that's used for this

    6    calculation 2N5.1, it starts at a base offense level of 26,

    7    which is fairly high, and it doesn't take into consideration

    8    various factors.

    9              And I think this is one of the reasons that the

   10    Government -- we were able to come to a recommendation to a

   11    lower number because, in this case, as Mr. Del Toro said,

   12    there's $35,000 that was the subject in this case, and that's

   13    not taken into consideration with that guideline calculation.

   14              Additionally, these were airline parts and not

   15    something more nefarious, which also isn't calculated with this

   16    guideline.    So, for these reasons, that's one of the -- that's

   17    why we got to where we're at.

   18              But specifically with respect to Ms. Caby, Ms. Caby is

   19    an employee of this company.       Last year, in 2017, she made,

   20    approximately, $35,000, and the years before that she never

   21    earned more than $52,000.

   22              I, in my motion for downward variance, I think, I

   23    hopefully conveyed the type of person that Marjan Caby is,

   24    which is somebody who has always been somebody who gives back

   25    to the community, and I think all of these things should be
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    1    taken into consideration, somebody who has no prior criminal

    2    record, no contacts with the system.

    3               I think that a-year-and-a-day is more than sufficient

    4    to give punishment to show the seriousness of the offense but,

    5    at the same time, taking into consideration the type of person

    6    and the actions of Ms. Caby in this case.

    7               I did file the letters, Judge, which I know you took

    8    into consideration.       We also have one witness here who would

    9    like to speak, and her name is Leah Christina.

   10               Would you like her to stand at the podium, Judge?

   11               THE COURT:   Yes, thank you.

   12               MS. PUGLISI:    Okay.

   13               THE COURT:   Hi.   Good afternoon, Ms. Christina.

   14               LEAH CHRISTINA:    Good afternoon, Judge.     My name is

   15    Leah Christina Hernandez, and I'm here for support for Arash,

   16    Marjan   and Ali Caby.     I've known them for the last five years

   17    and today we frequent the same synagogue and where we're all

   18    members.

   19               This is a family who is a beautiful, loving family.

   20    Their support of each other and their friends is unprecedented.

   21    They are excellent human beings, calm, caring and kind.           I

   22    frequent their home and they frequent mine.         Any time I need

   23    help, they're there willingly with open hands.

   24               Arash is a family man.    He has two young children who

   25    he teaches respect for others, and this is what he wants to see
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    1    the most important for him.       It breaks my heart that these two

    2    children will be without the presence of their father, who is

    3    their mentor.

    4              I appreciate your consideration with their family, and

    5    I humbly request that you offer them leniency, allowing them to

    6    return to society as soon as possible.         Please give them a

    7    chance because they only demonstrate that they are only willing

    8    to do good for others, and this is what I know, this is how I

    9    know them.    Thank you.

   10              THE COURT:    Thank you, Ms. Christina.

   11              MS. PUGLISI:     Judge, that's it.    We would just ask the

   12    Court to follow the joint parties' recommendation of

   13    a-year-and-one-day.

   14              THE COURT:    I just want to make sure, Marjan Caby, that

   15    you know that, certainly, Ms. Christina has spoken on your

   16    behalf, as well as Ali and Arash Caby, and if there's anything

   17    you want to say?

   18              DEFENDANT MARJAN CABY:     Thank you, but I don't have

   19    anything to say.     Thank you.

   20              THE COURT:    Mr. Del Toro?

   21              MR. DEL TORO:     Judge, for the same reasons that I cited

   22    previously, we recommend to the Court our joint recommendation

   23    with respect to Marjan Caby for downward variance down to

   24    12-months-and-one-day.

   25              THE COURT:    Do you share in Ms. Puglisi's analysis that
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    1    Marjan Caby's involvement was different than Ali and Arash?

    2               And the reason I ask is, there certainly is nothing

    3    reflected in the presentence investigation report with regard

    4    to a minor or a mitigating role.

    5               MR. DEL TORO:   Right.   And we don't believe that a

    6    minor role or a minimal role is appropriate in this case.           We

    7    believe that she was a member of the conspiracy, her role was

    8    not minor, in the legal sense.

    9               She certainly had a lower level of responsibilities

   10    than her brothers.      Arash Caby ran the Miami office.      Ali Caby

   11    ran the Sofia Bulgaria office.       Marjan Caby handled aspects of

   12    export compliance and as an auditor, and so she had a

   13    significant role in the company, but she was not one of the

   14    executives in the company, was not an owner, a manager, or a

   15    supervisor.    And so that reflects her different role in the

   16    offense and in the conspiracy.

   17               None of these defendants were day-to-day telling

   18    people, send this stuff to Syria.       But when the business came

   19    to them, they all agreed to do it, and that's why they're

   20    guilty of the offenses, and that's why the offenses are

   21    serious.

   22               However, Arash and Ali were owners and managers, and

   23    Marjan Caby was an employee of the company who was involved in

   24    the activities in the criminal offenses.

   25               THE COURT:   Ms. Puglisi?
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    1              MS. PUGLISI:    I have nothing further, Judge.

    2              THE COURT:    Let me start by saying that the Court has

    3    spent a good bit of time to get to know each of you to ensure

    4    that the Court knew everything that was available in

    5    considering the 3553(a) factors, which would include your

    6    history and characteristics, certainly, the circumstance of

    7    this offense and the need for a sentence to promote respect for

    8    the law and serve as an adequate deterrent to each of you and

    9    to others that are similarly situated.

   10              Ali Caby, it was very clear to the Court that, at the

   11    age of 40, that you are very dedicated to your two children,

   12    age 3 and 11 months, particularly, your infant child; and that

   13    you are loyal and hard-working, and there is certainly a

   14    tremendous amount of support within your family and in your

   15    circle of friends.

   16              And, Arash Caby, at the age of 44, yourself with two

   17    children, Alexander and Morgan, that the letters provide this

   18    support with the understanding that you are believed by many to

   19    be very kind and generous, with a strong sense of duty and

   20    adherence to your faith.

   21              And I was very impressed with the letter from your wife

   22    and the Rabbi of your efforts, particularly, with regard to the

   23    animals that you donate.

   24              And, Marjan Caby, at the age of 35, it's obvious to the

   25    Court that this is your first contact with the criminal justice
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    1    system; and from the letters that the Court has received -- and

    2    I thank you, Ms. Puglisi, for your sentencing memorandum,

    3    because it certainly gave the Court another opportunity to

    4    understand you as a person -- that you are self-motivated, very

    5    supportive -- as one person said, you always see the cup half

    6    full -- you are considerate, you're a positive influence,

    7    certainly to those who have been suffering with cancer and

    8    other diseases where you've been there, and you've been a

    9    mentor and have done a tremendous amount of community service.

   10              So I certainly want each of you to know that that has

   11    not gone unnoticed.

   12              At the same time, the Court recognizes the different

   13    roles that each of you played.       Marjan Caby, you were an

   14    employee and, Ali and Arash, you were the owner and managing

   15    members of AW-Tronics.

   16              Let me say, because I believe that the Court has an

   17    obligation to note that through your plea agreement and through

   18    your plea of guilty to this conspiracy charge that you

   19    acknowledge that several transactions took place, that none of

   20    you, or AW-Tronics, received any license to export anything to

   21    Syria or to Syrian Air.

   22              And there's a reason why there are regulations

   23    governing and prohibiting certain transactions with Syria by

   24    the United States involving goods from the United States, and

   25    that includes Syrian Air -- Syrian Arab Airlines, a company
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    1    owned and controlled by the Government of Syria.

    2              Our national security depends upon compliance with the

    3    Export Administration Act.      And each of you, through your pleas

    4    of guilty, admitted that you conspired to unlawfully export

    5    goods from the United States through trans-shipment points to

    6    Syria and to Syrian Air; and in so doing, you purposely evaded

    7    the prohibitions and the licensing requirements of the IEEPA,

    8    the International Emergency Economic Powers Act, and the

    9    detection by the United States Government.

   10              Each of you, through your activities, provided false

   11    information to conceal the illegal exports, and you arranged

   12    for payment for these illegal exports through third-party

   13    companies, not once, but multiple times over a six-month

   14    period.

   15              And I'm not going to re-count the times during

   16    September 2013 through March of 2014, but suffice it to say

   17    that, through your pleas of guilty, you've acknowledged that

   18    you've committed these acts and you bear responsibility, and

   19    that's why the Court takes its role and its responsibility in a

   20    very serious manner.

   21              I also recognize that payments, by way of forfeiture,

   22    were voluntarily made as part of this plea agreement, and I

   23    also recognize that following this sentence there will be other

   24    charges to which the Government will move to dismiss.

   25              You are not each similarly situated, and so I will
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    1    begin with Marjan Caby, who I believe played a much smaller

    2    role and is deserving of a different sentence.

    3              Ms. Caby, the Court thanks Ms. Christina for her

    4    statement.    I thank your attorney for sharing with the Court

    5    the letters and the sentencing memorandum, but after

    6    consideration of the presentence report, which contains

    7    advisory guidelines and the statutory factors of 18 United

    8    States Code, Section 3553(a), based on the inquiry done by the

    9    probation officer, the Court finds that you do not have the

   10    ability to pay a fine.

   11              The Court grants the joint request for a downward

   12    variance, and it will be the judgment of the Court, Ms. Caby,

   13    that you'll be committed to the Bureau of Prisons to be in

   14    prison for one year and one day as to Count 1.

   15              Upon release from imprisonment, you shall be placed on

   16    supervised release for a period of two years, as to Count 1.

   17    Within 72 hours of your release from the custody of the

   18    Bureau of Prisons, you shall report in person to the probation

   19    office in the district where you are released.

   20              While on supervised release, you shall comply with all

   21    standard and mandatory conditions of supervised release, and

   22    that includes not committing any crimes, you shall be

   23    prohibited from possessing a firearm or other dangerous device,

   24    you shall not unlawfully possess a controlled substance, you

   25    shall cooperate in the collection of DNA, and you shall comply
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    1    with the special condition of financial disclosure requirement,

    2    no-new-debt restriction, a self-employment restriction, and I

    3    am going to require substance abuse treatment while you are in

    4    custody and following the two years of supervised release, and

    5    the payment of any unpaid restitutions, fines or special

    6    assessments.

    7              Since you've answered to Count 1, you shall immediately

    8    pay to the United States a special assessment of $100.

    9              Now that the sentence has been imposed, Ms. Caby, do

   10    you or Ms. Puglisi object to the manner in which the sentence

   11    was pronounced?

   12              MS. PUGLISI:    No, Your Honor.

   13              THE COURT:    Ms. Caby, within your plea agreement was a

   14    waiver of your right to appeal.       To the extent that it has not

   15    been fully waived, let me advise you that any notice of appeal

   16    must be filed within 14 days after entry of the judgment.           If

   17    you're unable to pay the costs of the appeal, you may apply for

   18    leave to appeal in form of pauperis, which means there will be

   19    no cost to you.

   20              Ms. Caby has been out of custody, and the Court is

   21    going to require that she be remanded to the custody of the

   22    U.S. Marshal to begin service of her sentence.

   23              MS. PUGLISI:    Judge, if I may speak to that.       I would

   24    be requesting, Judge, a period of time for her to be able to

   25    surrender to her facility.
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    1              Ms. Caby is a United States citizen.        She will qualify

    2    to be designated to a camp.       As Your Honor knows, the facility

    3    here across the street is nowhere near what a camp would be

    4    like and it could take up to between three to six months for

    5    her to be taken to her designated facility.

    6              I have spoken to the Government.       We had requested

    7    February 23rd as a surrender date, and I believe the Government

    8    has no objection to that, which would allow time for her to be

    9    designated and for her to surrender to her facility.

   10              THE COURT:    Ms. Puglisi, can you advise what has taken

   11    place between now and February 23rd that would warrant the

   12    Court considering a self-surrender at a later date?

   13              MS. PUGLISI:    Judge, I know that it used to take,

   14    approximately, three weeks for designation, but now the system

   15    has been inundated, and typically it takes, approximately, six

   16    weeks.

   17              Now, we have asked for eight weeks.        If the Court is

   18    inclined, we'd be fine with the six weeks.         But that is how

   19    long my understanding and what I've seen in the last, you know,

   20    six months, or so, of people designated, it takes approximately

   21    six weeks for the Bureau of Prisons to get a person designated.

   22              THE COURT:    I see no reason to treat Ms. Caby any

   23    differently than any other individual that's been sentenced by

   24    the Court.    The fact that she may be designated at a particular

   25    institution, while certainly the Court can make a
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    1    recommendation, Ms. Caby will be taken into custody.

    2              MS. PUGLISI:    Will you at least allow me to

    3    self-surrender her across the street, Judge, right after this,

    4    so that we can walk her over, because that will make a

    5    difference with BOP on the designation if she self-surrenders

    6    versus being taken in?

    7              THE COURT:    Then I'll allow the self-surrender from

    8    today; all right?

    9              MS. PUGLISI:    If you can just allow 30 minutes from the

   10    time we finish?

   11              THE COURT:    Certainly.   Are there any requests in

   12    Ms. Caby's case?

   13              MS. PUGLISI:    No, Judge, she doesn't have any children.

   14    I will request, if Your Honor can recommend service at a camp.

   15    I know it's only a recommendation, at the end of the day.

   16              THE COURT:    I'll make that recommendation.

   17              MS. PUGLISI:    Thank you, Judge.

   18              THE COURT:    Arash Caby, as I stated previously, the

   19    Court notes that your position was a managing member of

   20    AW-Tronics and you played a much different role than Marjan

   21    Caby.

   22              The Court equally recognizes that you have had minimal

   23    involvement in the criminal justice system and, certainly, that

   24    weighs in your favor.

   25              As I stated previously, the Court's sentence must
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    1    promote respect for the law and serve as an adequate deterrent

    2    to you and to others that are contemplating this behavior.

    3    Certainly, this behavior is unique in the role that you served

    4    and the activities that you performed.

    5              And while not recounting those particular acts, let me

    6    state that following consideration of the presentence report

    7    and a consideration of the statutory factors of 18 United

    8    States Code, Section 3553(a), the Court recognizes that there

    9    are mitigating factors, including your lack of a criminal

   10    record, the early acceptance of responsibility, and the

   11    recognition that you have a strong base of familial support,

   12    which certainly guides this Court in determination as to

   13    whether you will be involved again in the criminal justice

   14    system.

   15              You have an ability to pay a fine, based on the inquiry

   16    done by the probation officer, and a fine is ordinarily not

   17    imposed when there is a financial inability, but you have the

   18    ability based on the inquiry done by the probation officer; and

   19    as such, the Court finds that you are able to pay a fine, and

   20    as a violation of this provision of law, the Court is going to

   21    impose a fine in the amount of $10,000.

   22              And it will be the judgment of the Court, Arash Caby,

   23    that you'll be committed to the Bureau of Prisons to be in

   24    prison -- and I will accept the joint recommendation for 24

   25    months as a downward variance as to Count 1.
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    1               As I stated, you shall pay a fine in the amount of

    2    $10,000 payable to the Clerk of the United States Court.           The

    3    fine is payable immediately, and the U.S. Bureau of Prisons,

    4    the U.S. Probation Office and the U.S. Attorney's Office are

    5    responsible for the enforcement of this Court's order.

    6               Upon your release from imprisonment, you shall be

    7    placed on supervised release for a term of two years as to

    8    Count 1.    Within 72 hours of your release from the custody of

    9    the Bureau of Prisons, you shall report in person to the

   10    probation office in the district where you are released.

   11               While on supervised release, you shall comply with all

   12    mandatory and standard conditions of supervised release; that

   13    includes not committing any crimes, being prohibited from

   14    possessing a firearm or other dangerous device, you shall not

   15    unlawfully possess a controlled substance, and you shall

   16    cooperate in the collection of DNA.

   17               You shall also comply with the following special

   18    conditions, and that includes:       Substance abuse treatment, a

   19    financial disclosure requirement, no-new-debt restriction,

   20    self-employment restriction, permissible search, and the

   21    payment of any unpaid restitutions, fines or special

   22    assessments.

   23               You've answered to Count 1.     You shall immediately pay

   24    a special assessment of $100.       Since the Court has entered an

   25    order of forfeiture, forfeiture of your right, title and
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    1    interest in certain property is ordered.

    2              Now that the sentence has been imposed, do you or

    3    Mr. Seitles object to the manner in which the sentence was

    4    pronounced?

    5              MR. SEITLES:    No, Your Honor.

    6              THE COURT:    As well, Mr. Caby, you have a provision in

    7    your plea agreement waiving the right to appeal.          To the extent

    8    that it has not been fully waived, any notice of appeal must be

    9    filed within 14 days after entry of the judgment.          If you're

   10    unable to pay for the cost of the appeal, you may apply for

   11    leave to appeal in form of pauperis, which means there would be

   12    no cost to you.

   13              Do you have any questions, Mr. Caby?

   14              DEFENDANT ARASH CABY:     No, Your Honor.

   15              THE COURT:    Mr. Seitles?    Stop**

   16              MR. SEITLES:    Your Honor, the only thing I would

   17    comment is regarding the self-surrender.         Unfortunately, we've

   18    not been before Your Honor to know what your policy was

   19    regarding self-surrenders.

   20              We discussed this with the Government because

   21    Mr. Caby's been out on bond for quite sometime, he's had no

   22    issues while out on bond, in fact, the bond has been modified

   23    several times to actually remove the electronic monitor.

   24              You know, given the Court's sentence, give the

   25    holidays, it's the last night of Chanukah, I would respectfully
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    1    request that the Court would consider at least allowing him to

    2    self-surrender at the beginning of next year, you know, I think

    3    that would certainly alleviate the pain this is going to cause

    4    because I incorrectly believed that Your Honor would allow for

    5    self-surrender, so I so advised him of that and advised his

    6    family.

    7              So if anyone's in error, it's myself.        But I did

    8    believe that Your Honor would allow for a joint recommendation

    9    of a self-surrender, at least sometime early next year.

   10              Thank you, Your Honor.

   11              THE COURT:    Are there any issues that the Court needs

   12    to be aware of that would require a self-surrender, other than

   13    it's the holiday season?

   14              MR. SEITLES:    There's nothing specific.      I mean, he's

   15    got to get -- you know, again, when somebody's getting ready to

   16    go to prison, given the fact that he was not prepared to go

   17    today, he's got to get his affairs in order, powers of

   18    attorney, those types of things, for his wife and his children,

   19    say goodbye to his children before he goes into custody.

   20              So I think there's some housekeeping matters that would

   21    require and necessitate him to have a self-surrender.           But

   22    beyond that, there's nothing specific that I can point to.

   23              THE COURT:    And as Mr. Caby's been out on bond, he did

   24    enter a plea on October 3rd and the Court did advise that the

   25    Court was going to set the sentencing for today.
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    1              MR. SEITLES:    Yes.

    2              THE COURT:    I will allow a self-surrender, but the

    3    Court sees no basis why Mr. Caby should be treated differently

    4    from anyone else who is ordered to be remanded to custody.

    5              So that request will be denied.       If you would like a

    6    self-surrender, certainly, as I afforded Marjan Caby,

    7    certainly, you may do so.        And are there any requests?

    8              MR. SEITLES:    Thank you, Your Honor.

    9              THE COURT:    Are there any other specific requests, sir?

   10              MR. SEITLES:    Yes, I am, Your Honor, the same surrender

   11    as Ms. Caby.

   12              THE COURT:    Are there any recommendations that you're

   13    asking the Court to make, sir?

   14              MR. SEITLES:    Yes, Your Honor, location, to be housed

   15    in South Florida, specifically, FDC South Miami.

   16              THE COURT:    Certainly, I'll make that recommendation.

   17              MR. SEITLES:    Thank you, Your Honor.

   18              THE COURT:    Mr. Arash Caby, do you have any questions,

   19    sir?   Do you have any questions, sir?

   20              DEFENDANT ARASH CABY:      No.

   21              THE COURT:    The best of luck to you, sir.

   22              And Ali Caby, as the Court now turns its attention to,

   23    an appropriate sentence in your case that is sufficient, but is

   24    not greater than necessary, you are before the Court with a

   25    criminal history that is different than that of Arash and
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    1    Marjan Caby.

    2               However, the Court is always concerned with unwarranted

    3    sentencing disparities of individuals that are similarly

    4    situated.    And while the Court recognizes that there is a

    5    criminal history that is different than Arash and Marjan, the

    6    Court will honor the joint recommendation and grant the request

    7    for a downward variance.

    8               In following the consideration of the presentence

    9    report, which does contain the advisory guidelines and a full

   10    consideration of the statutory factors of 18 United States

   11    Code, Section 3553(a), first and foremost, based on the inquiry

   12    done, the Court finds that you do not have the ability to pay a

   13    fine and a fine will not be imposed.

   14               But it will be the finding of the Court that the Court

   15    will grant the request for a downward variance, and you'll be

   16    committed to the Bureau of Prisons to be in prison for a total

   17    of 24 months as to Count 1.

   18               Upon your release from imprisonment, you shall be

   19    placed on supervised release for a term of two years as to

   20    Count 1.    Within 72 hours from your release from the custody of

   21    the Bureau of Prisons, you shall report in person to the

   22    probation office in the district in which you are released.

   23               While on supervised release, you shall comply with all

   24    mandatory and standard conditions of supervised release; that

   25    includes not committing any crimes, you are prohibited from
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    1    possessing a firearm or other dangerous device, you shall not

    2    unlawfully possess a controlled substance, shall cooperate in

    3    the collection of DNA, you must comply with the following

    4    special condition, and that is to surrender to immigration for

    5    removal proceedings after you've served your term of

    6    imprisonment.

    7              There will be a financial disclosure requirement, a

    8    self-employment restriction, a permissible search, and the

    9    requirement that you pay any unpaid restitution, fines or

   10    special assessments.

   11              Since you've answered to the one count, you shall

   12    immediately pay a special assessment of $100.

   13              Now that the sentence has been imposed -- let me state

   14    that the Court did enter, by way of the order of forfeiture,

   15    forfeiture of your right, title and interest, and that is

   16    ordered consistent with the Court's entry of its order in this

   17    case.

   18              Now that the sentence has been imposed, do you or

   19    Mr. Barzee object to the manner in which the sentence was

   20    pronounced?

   21              MR. BARZEE:    No objections, Your Honor.

   22              MR. DEL TORO:    And, Judge, I know that you've just

   23    mentioned that you have ordered forfeiture with respect to

   24    docket entries 121 and 124.

   25              The Government also asks that the forfeiture be
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    1    referenced in the judgment and commitment order as well,

    2    please.

    3              THE COURT:    And that would be referenced contained

    4    within your plea agreement as well, sir, as a waiver of your

    5    right to appeal.     To the extent that your appellate right has

    6    not been fully waived, let me advise you that you do have the

    7    opportunity, if the waiver does not preclude that ability, but

    8    any notice of appeal must be filed within 14 days after entry

    9    of the judgment.     If you're unable to pay the cost of the

   10    appeal, you may apply for leave to appeal in form of pauperis,

   11    which means there is no cost to you.

   12              Ali Caby, do you have any questions, sir?

   13              DEFENDANT ALI CABY:     No, Your Honor.

   14              THE COURT:    Mr. Barzee, is there anything further, sir?

   15              MR. BARZEE:    There is, Your Honor.     We were going to

   16    request that the Court recommend placement at Miami FCI.

   17              Thank you.

   18              THE COURT:    I'll make that recommendation.

   19              Is there anything further?

   20              MR. BARZEE:    No, Your Honor.

   21              THE COURT:    Mr. Del Toro, is there anything further?

   22              MR. DEL TORO:    Nothing further from the Government,

   23    Your Honor.

   24              THE COURT:    If there's nothing further, then I will

   25    allow the self-surrender and --
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    1              MR. DEL TORO:    Judge, I'm sorry.     Of course, we move

    2    for the dismissal of the remaining counts in the indictment,

    3    other than Count 1.

    4              THE COURT:    As to Marjan, Ali and Arash, the motion is

    5    granted as to each individual.

    6              MS. PUGLISI:    Your Honor, as to Ali Caby, the fine was

    7    waived?

    8              THE COURT:    As to Ali Caby, the inquiry done was that

    9    Ali Caby was not able to pay the fine, and I'm fine with that.

   10              The best of luck to each of you.

   11              COURTROOM DEPUTY:     All rise.

   12              (Proceedings concluded at 3:25 p.m.)

   13

   14

   15                           C E R T I F I C A T E

   16
                     I hereby certify that the foregoing is an
   17
                   accurate transcription of the proceedings in the
   18
                   above-entitled matter.
   19
                   January 18th, 2017       /s/Glenda M. Powers
   20              DATE                     GLENDA M. POWERS, RPR, CRR, FPR
                                            Official Federal Court Reporter
   21                                       United States District Court
                                            400 North Miami Avenue, 08S33
   22                                       Miami, Florida 33128

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